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                           UNITED STATES DISTRICT COURT
                           WESTERN DISTRICT OF LOUISIANA

 AIG SPECIALTY INSURANCE                §   CIVIL ACTION NO. 6:21-CV-04191-RRS CBW
 COMPANY (f/k/a CHARTIS                 §
 SPECIALTY INSURANCE                    §          JUDGE ROBERT R SUMMERHAYS
 COMPANY)                               §
                                        §
 VS.                                    §          MAGISTRATE CAROL B WHITEHURST
                                        §
 KNIGHT OIL TOOLS, INC.                 §
                                        §        (ORAL ARGUMENT REQUESTED)

                                            ORDER

        CONSIDERING the Motion to Appear Proc Hac Vice filed by Kenneth Tekell, Sr., it is

 ordered that he be enrolled Pro Hac Vice to the bar of this court to appear on behalf of RIPPY

 OIL COMPANY in the above-described action.

        SIGNED at __________________, Louisiana, this ________ day of January, 2022.




                                            _______________________________________
                                                  JUDGE
